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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

APPEAL NO. 24-1945

DISTRICT COURT NO. 23-10171
HON. DENISE PAIGE HOOD

IN RE:
CHRISTOPHER D. WYMAN BANK CASE NO. 12-32264
Debtor(s), CHAPTER 7
HON: D. 8S. OPPERMAN

MICHAEL E. TINDALL,
Appellant,
v.

SAMUEL D. SWEET,
Appellee.

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CERTIFICATE OF SERVICE
(Modified for PEDUP)
Appellant, in pro per, hereby certifies that

APPELLANT’S DESIGNATION OF RECORD ON APPEAL
STATEMENT OF ISSUES PRESENTED ON APPEAL
CERTIFICATE RE TRANSCRIPTS ON APPEAL

was submitted for filing through the PEDUP program on November __,
2024 and will be served on Appellee Trustee Sweet by the Clerk’s filing
through the Court’s ECF System on the date and at the time so filed by the

Clerk.
Respectfally Submitted,
—J J ? 7
MICHAEL E. TINDALL
Dated: 1 1/7/2024 18530 MACK AVE., STE 430

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(248)250-8819

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